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SOUTHERN COTTON OIL CO.,
a Division of ARCHER-DANIELS-MIDLAND, CO.

Plaintiff,
v. No. 04-2521 MaV
Sl\/llTH-DOYLE CONTRACTORS
and A & S BUILDING SYSTEMS, L.P.

Defendants,

V.

A & S BUILDING SYSTEM.S, L.P., and
FIDELITY & DEPOSIT COMPANY OF MARYLAND

Cross/third party
Defendants.

 

ORDER GRANTING JOINT MOTION TO EXTEND DISCOVERY DEADLINES

 

The parties have moved this Court for an order extending the Rule l6(b) discovery
deadlines in this matter.

After reviewing the pleadings, the Motion filed by the parties, and the record as a
whole, this Court finds that the motion is well taken and should be granted Therefore,
the Rule lo(b) deadlines set in this Court's Order of October 27th, 2004 shall be and are
hereby extended as follows:

a. Cornpletion of Plaintift‘s Discovery: Septernber 9, 2005;

b. Cornpletion of Defendant's Discovery: October 7, 2005',

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c. Disclosure of Plaintiff‘s Rule 26 Experts and reports: July 29, 2005;

d. Disclosure of Defendants‘ Rule 26 Experts and reports: August 26, 2005',

e. Expert Witness Depositions for Plaintift`s'. Septemher 9, 2005‘,
f. Expert Witness Depositions for Defendants‘. October 7, 2005.
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DIANE K. VESCOVO
U.S. MAGISTRATE IUDGE

Prepared by:

ROSSIE, LUCKETT& RIDDER, P.C.

`

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ATTORNEYS FOR PLAINTIFF

Ca ' - -
Se 2.04 cv O2521-SH|\/|-de Document 15 Filed 05/27/05 Page 3 of 4 Page|D 23

CERTIFICATE OF SERVICE

l, David A. Billions, do hereby certify that I have this date via hand delivery
forwarded a true and correct copy of the foregoing to:

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rnls, the a¥”'day er May, 2005_

`

DAVID A. BILLIONS

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02521 was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

